      Case 22-33553 Document 1212 Filed in TXSB on 07/11/25 Page 1 of 24




                     THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

 In re:                                     §
                                            §            Case No. 22-33553
 ALEXANDER E. JONES                         §            (Chapter 7)
                                            §
          Debtor.                           §

             THIRTEENTH MONTHLY FEE STATEMENT OF
            JONES MURRAY LLP AS BANKRUPTCY COUNSEL
         FOR CHAPTER 7 TRUSTEE, CHRISTOPHER R. MURRAY,
 FOR ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF EXPENSES
       FOR THE PERIOD FROM JUNE 1, 2025 THROUGH JUNE 30, 2025


 Name of Applicant:                         Jones Murray LLP, as bankruptcy counsel for
                                            Chapter 7 Trustee, Christopher R. Murray
 Date of Retention Order:                   Order at Dkt. No. 794

 Period for which Fees and Expenses         June 1, 2025 through June 30, 2025
 are Incurred:

 Interim Fees Incurred:                     $78,003.00

 Interim Payment of Fees Requested          $62,402.40
 (80%):

 Interim Expenses Incurred:                 $350.19

 Total Fees and Expenses Due:               $62,752.59


This is the Thirteenth Monthly Fee Statement.




                                         PAGE 1 OF 3
      Case 22-33553 Document 1212 Filed in TXSB on 07/11/25 Page 2 of 24




       Jones Murray LLP (“JM”), as Bankruptcy Counsel for the Chapter 7 Trustee, Christopher

R. Murray (the “Trustee”), submits this Thirteenth Monthly Fee Statement (the “Fee Statement”)

for the period from June 1, 2025 through June 30, 2025 (the “Application Period”) in accordance

with the Order Establishing Procedures for Interim Compensation and Reimbursement of

Expenses for Professionals and Trustee [Docket No. 793](the “Interim Compensation Order”).

       JM requests compensation for professional services rendered in the amount of $78,003.00

(the “Fees”), and for reimbursement of out-of-pocket expenses incurred in the amount of $350.19

(the “Expenses”), for the period from June 1, 2025 through June 30, 2025. Eighty percent (80%)

of the fees equals $62,402.40 and one hundred percent (100%) of the Expenses equals $350.19 for

a total requested amount of $62,752.59.

       Summaries of the calculations for these fees by project category are attached hereto as

Exhibit 1. A summary of the time expended by JM attorneys and support staff, together with their

respective hourly rates, is attached hereto as Exhibit 2. A summary of expenses is attached as

Exhibit 3. JM’s invoice for the Application Period is attached hereto as Exhibit 4.

       WHEREFORE, JM respectfully requests payment and reimbursement in accordance with

the procedures set forth in the proposed Interim Compensation Order (i.e., payment of eighty

percent (80%) of the compensation sought, in the amount of $62,402.40 and reimbursement of one

hundred percent (100%) of expenses incurred in the amount of $350.19 for a total amount of

$62,752.59.

Dated: July 11, 2025
                                             Respectfully submitted,

                                              JONES MURRAY LLP
                                              /s/ Erin E. Jones
                                              Jacqueline Q. Chiba
                                              Texas Bar No. 24116899
                                              jackie@jonesmurray.com



                                          PAGE 2 OF 3
      Case 22-33553 Document 1212 Filed in TXSB on 07/11/25 Page 3 of 24




                                             Erin E. Jones
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                                             Houston, TX 77007
                                             Tel. (832) 529-1999
                                             CO-COUNSEL FOR THE CHAPTER 7 TRUSTEE


                               CERTIFICATE OF SERVICE

        This will certify that a true and correct copy of the foregoing document was forwarded by
electronic transmission to all registered ECF users appearing in the case on July 11, 2025.

                                                                   /s/ Erin E. Jones
                                                                   Erin E. Jones




                                          PAGE 3 OF 3
Case 22-33553 Document 1212 Filed in TXSB on 07/11/25 Page 4 of 24




                                 EXHIBIT 1

            SUMMARY OF TIME EXPENDED BY PROJECT CATEGORY

         Project Category              Total Hours   Total Fees Requested
    Asset Analysis and Recovery            63.9           $48,477.00
        Case Administration                 15            $11,625.00
Claims Administration and Objections        0.3             $232.50
    Fee/Employment Applications            11.4            $8,223.00
      Other Contested Matters              13.8            $9,445.50
                                          104.4           $78,003.00
Case 22-33553 Document 1212 Filed in TXSB on 07/11/25 Page 5 of 24




                                 EXHIBIT 2

           SUMMARY OF TIME EXPENDED BY BILLING PROFESSIONALS

                Professional            Hourly Rate     Total Hours
Erin E. Jones, Partner                    $775.00            93
Jacqueline Q. Chiba, Associate            $520.00           11.4
                                                           104.4
Case 22-33553 Document 1212 Filed in TXSB on 07/11/25 Page 6 of 24




                            EXHIBIT 3

                       SUMMARY OF EXPENSES

                Expense Category                Cost
      None During Billing Period               $350.19
                                               $350.19
Case 22-33553 Document 1212 Filed in TXSB on 07/11/25 Page 7 of 24




                            EXHIBIT 4

                         PRE-BILL/INVOICE
Case 22-33553 Document 1212 Filed in TXSB on 07/11/25 Page 8 of 24
Case 22-33553 Document 1212 Filed in TXSB on 07/11/25 Page 9 of 24
Case 22-33553 Document 1212 Filed in TXSB on 07/11/25 Page 10 of 24
Case 22-33553 Document 1212 Filed in TXSB on 07/11/25 Page 11 of 24
Case 22-33553 Document 1212 Filed in TXSB on 07/11/25 Page 12 of 24
Case 22-33553 Document 1212 Filed in TXSB on 07/11/25 Page 13 of 24
Case 22-33553 Document 1212 Filed in TXSB on 07/11/25 Page 14 of 24
Case 22-33553 Document 1212 Filed in TXSB on 07/11/25 Page 15 of 24
Case 22-33553 Document 1212 Filed in TXSB on 07/11/25 Page 16 of 24
Case 22-33553 Document 1212 Filed in TXSB on 07/11/25 Page 17 of 24
Case 22-33553 Document 1212 Filed in TXSB on 07/11/25 Page 18 of 24
Case 22-33553 Document 1212 Filed in TXSB on 07/11/25 Page 19 of 24
Case 22-33553 Document 1212 Filed in TXSB on 07/11/25 Page 20 of 24
Case 22-33553 Document 1212 Filed in TXSB on 07/11/25 Page 21 of 24
Case 22-33553 Document 1212 Filed in TXSB on 07/11/25 Page 22 of 24
Case 22-33553 Document 1212 Filed in TXSB on 07/11/25 Page 23 of 24
Case 22-33553 Document 1212 Filed in TXSB on 07/11/25 Page 24 of 24
